 

 

AO 440 (Rcv. 06/12) Summons in a Civij Action (Paga 2) _
Civil Actic)n No, 2118-cv-00187 _

PR()OF OF SERVICE ‘
(Tht`s section should nat befiiea‘ with the court unless required by Fed. R. Civ. P. 4 {i))

Tbis S\.ll‘nmol'ls for ()mme of!ndiwdual and tirie, g"an)p CHAKRA CAPITAL GROUP
was received by me on fdare) Febl‘ual`y 2, 201 8

 

 

ml peisonaily served the summons on the individual at fplnce)

on (du:e) ; or

 

 

 

|‘_`l 1 left the summons st the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,
on (dm'e} , and mailed a copy to the individual’s last known address; or

' -I S'Brved ih¢ SLIII!mOnS Gn (mtme ofindivt'dtmi) ROBERT HALTERMAN _ , who is
designated by law to accept service of process on behalf of mem ofmgamzmr'on) CHAKRA CAPITAL CROUP

 

 

 

 

 

on (da¢e) Febc‘uary 3. 2018 ; or
CI ] returned the summons unexecuted because ; or
l:l OEhEI' (spec[fyj.'
My fees are $ _ i`or travel and$ for services, i‘<)r` a total of $ 0_00

I declare under penalty of perjury that this information is truc.

Date; Febriisl'y 3, 201_&`_5__ _ 4/‘
v .S'ervi§‘.s' signa!ure

CLAYTON STACY

 

Pr:'nted name and title

P.O. Box 363, Summewilie. SC 29484

.S'erver’s address

 

Additionai information regarding attempted service, etc:

